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        EXHIBIT B
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                      MATERIALS REVIEWED AND CONSIDERED

1. MAAP-011247 data sheet

2. MAAP-011247-DIE data sheet

3. Photographs of MAAP-011247 chip (attached as Exhibits D through H)

4. U.S. Patent No. 9,425,752

5. File History of U.S. Patent No. 9,425,752

6. File History of U.S. Patent No. 8,786,368

7. File History of Provisional Patent No. 61/464,781
